
123 B.R. 222 (1990)
In re MARINA BAY DRIVE CORPORATION, Debtor,
FIMSA, INC.
v.
MARINA BAY DRIVE CORPORATION.
MARINA BAY DRIVE CORPORATION et al.,
v.
FIMSA, INC., et al.
No. H 90 3072, Civ. A. No. MBH-90-44, Bankruptcy No. 90-00719-G2-11, Adv. No. 90-0302.
United States District Court, S.D. Texas.
October 4, 1990.
Jeffrey E. Spiers, Houston, Tex., for plaintiff.
Aaron Keiter, Houston, Tex., for defendant.

ORDER WITHDRAWING REFERENCE
HUGHES, District Judge.
The reference to the United States Bankruptcy Court for the Southern District of Texas is withdrawn on the claim by Marina Bay Drive Corporation and Charles E. Mellett against First Interstate Bank of Texas because bankruptcy courts may not conduct jury trials; they are enhanced special masters in chancery. There is more to the allocation of power in the constitution than legislative and judicial acquiescence in post-New Deal administrative excuses might suggest. Article III and Amendment VII subsist.
